Case 5:08-cr-00269-SMH-MLH        Document 326       Filed 02/19/10    Page 1 of 2 PageID #:
                                        1406



                          UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF LOUISIANA
                               SHREVEPORT DIVISION


 UNITED STATES OF AMERICA                         CRIMINAL ACTION NO. 08-00269-02

 VERSUS                                           JUDGE S. MAURICE HICKS, JR.

 TANDY W. MCELWEE, JR., ET AL.                    MAGISTRATE JUDGE HORNSBY


                                          ORDER

        Before the Court is a Motion for Bond Pending Appeal [Record Document 316] filed

 on behalf of Defendant Ava Cates McElwee. The United States opposes this motion.

 [Record Document 323].

        Following an eight-day jury trial, Defendant was convicted of conspiracy to obtain

 a controlled substance by fraud (Count 1) and obtaining or acquiring a controlled

 substance by fraud (Count 54), and was sentenced to a term of imprisonment for thirty-six

 (36) months. [Record Documents 248, 305]. Defendant filed a Notice with the Fifth Circuit

 Court of Appeals on February 5, 2010, appealing her conviction and sentence. [Record

 Document 315]. She now requests this Court issue an order allowing her to be released

 on bail pending appeal, or, alternatively, that her surrender date be stayed pending

 resolution of the bail issue by the Fifth Circuit Court of Appeals. [Record Document 316].

        A defendant does not have a constitutional right to bail after conviction and

 sentencing. United States v. Olis, 450 F.3d 583, 585 (5th Cir. 2006), citing United States

 v. Williams, 822 F.2d 512, 517 (5th Cir. 1987). Any putative right to bail derives from the

 1984 Bail Reform Act, 18 U.S.C. § 3141 et seq., which establishes a strong presumption

 against the granting of bail pending appeal. Id.; United States v. Valery-Elizondo, 761 F.2d
Case 5:08-cr-00269-SMH-MLH          Document 326       Filed 02/19/10     Page 2 of 2 PageID #:
                                          1407



 1020, 1024-25 (5th Cir. 1985) (by enacting § 3143, Congress intended “to limit, indeed

 substantially limit, the availability of bail pending appeal”). Pursuant to 18 U.S.C. §

 3143(b), a person found guilty of an offense and sentenced to a term of imprisonment shall

 be detained pending appeal unless the defendant establishes the following four factors:

 (1) that the defendant is not likely to flee or pose a danger to the safety of any other person

 or the community if released; (2) that the appeal is not for the purpose of delay; (3) that the

 appeal raises a substantial question of law or fact; and (4) that if that substantial question

 is determined favorably to defendant on appeal, that decision is likely to result in reversal,

 an order for a new trial, a sentence that does not include a term of imprisonment, or a

 reduced sentence to a term of imprisonment less than the time already served or will serve

 during appeal. See 18 U.S.C. § 3143(b).            After thoroughly reviewing the motions filed

 by the Defendant and the Government, and having considered the requirements of 18

 U.S.C. § 3143(b), the Court finds Defendant has failed to overcome the presumption

 against release pending appeal.

         Accordingly,

         IT IS ORDERED that the Motion for Bond Pending Appeal [Record Document 316]

 be and is hereby DENIED.

         THUS DONE AND SIGNED in Shreveport, Louisiana, on this 19th day of February,

 2010.
